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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS (Kansas City)


UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
                     v.                   )                         Case No. 04-CR-20044-06-KHV
                                          )
MARK MANUEL MCGEE,                        )
      a/k/a “Smooth”                      )
                                          )
                        Defendant.        )
__________________________________________)


                         ORDER FOR ADEQUATE COURT FACILITIES

        NOW on this 5th day of October, 2005, the above-entitled matter comes regularly on

before the Court on the Defendant’s motion for adequate court facilities (Doc. #264).

        THEREUPON the Court after being well and duly advised in the premises and after

reviewing the contents of said motion states that the motion should be and is hereby sustained.

        IT IS THEREFORE BY THE COURT CONSIDERED, ORDERED, ADJUDGED

AND DECREED that the Defendant, Mark McGee, and his counsel, Mark L. Bennett, Jr., be

provided with a separate table from his co-defendants, Andre Ivory, Pamela Tyler and Kimberly

Sanders, inclusive of the jury selection phase of the trial through the completion of said trial.

        THE COURT FURTHER ORDERS that each defendant and respective counsel be

provided with a separate table for trial proceedings.

        IT IS SO ORDERED.

                                                           s/ Kathryn H. Vratil
                                                           Honorable Kathryn H. Vratil
                                                           United States District Judge


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PREPARED BY:

s/ Mark L. Bennett, Jr.
Mark L. Bennett, Jr., #5781
BENNETT AND HENDRIX, L.L.P
5605 SW Barrington Court S., Suite 201
Topeka, KS 66614-2489
(785) 271-0800
mark@mlbjrlaw.com
Attorney for Defendant Mark Manuel McGee




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